       Case
        Case3:18-cv-07004-JD
             3:18-cv-07004-JD Document
                               Document81-1
                                        45 Filed
                                            Filed01/10/20
                                                  09/27/21 Page
                                                            Page11ofof88


                                                 Pages 1 - 7

                      UNITED STATES DISTRICT COURT

                    NORTHERN DISTRICT OF CALIFORNIA

Before The Honorable James Donato, Judge

GOR GEVORKYAN,                         )
                                       )
              Plaintiff,               )
                                       )
 VS.                                   )     NO. C 18-07004 JD
                                       )
BITMAIN, INC., et al.,                 )
                                       )
              Defendants.              )
                                       )

                                  San Francisco, California
                                  Thursday, December 19, 2019

                        TRANSCRIPT OF PROCEEDINGS

APPEARANCES:

For Plaintiff:
                             THE MARLBOROUGH LAW FIRM, P.C.
                             445 Broad Hollow Road - Suite 400
                             Melville, New York 11747
                       BY:   CHRISTOPHER MARLBOROUGH, ATTORNEY AT LAW

                             POMERANTZ LLP
                             1100 Glendon Avenue - 15th Floor
                             Los Angeles, California 90024
                       BY:   ARI Y. BASSER, ATTORNEY AT LAW

For Defendants:
                             O'MELVENY & MYERS LLP
                             400 South Hope Street - 18th Floor
                             Los Angeles, California 90071
                       BY:   CARLOS M. LAZATIN, ATTORNEY AT LAW
                             DAVID L. IDEN, ATTORNEY AT LAW




Reported By:              Marla F. Knox, RPR, CRR
                          Official Reporter
          Case
           Case3:18-cv-07004-JD
                3:18-cv-07004-JD Document
                                  Document81-1
                                           45 Filed
                                               Filed01/10/20
                                                     09/27/21 Page
                                                               Page22ofof88   2


1    Thursday - December 19, 2019                               11:38 a.m.

2                            P R O C E E D I N G S

3                                    ---000---

4              THE CLERK:    Calling Civil 18-7004, Gevorkyan versus

5    Bitmain, Inc.

6              MR. MARLBOROUGH:      Your Honor, Christopher Marlborough

7    for Plaintiffs.

8              MR. BASSER:     Good morning, Your Honor, Ari Basser from

9    Pomerantz on behalf of Plaintiff in the putative class.

10             MR. LAZATIN:     Good morning, Your Honor, Carlos Lazatin

11   from O'Melveny & Myers for Bitmain Technology.

12             MR. IDEN:    Good morning, Your Honor, David Iden on

13   behalf of Bitmain as well.

14             THE COURT:    Okay.    Well, a lot of surprisingly, twisty

15   complications on the name of this client -- the name of this

16   Defendant.   So I was initially inclined just to find

17   jurisdiction because there is certainly a lot in the record

18   about Bitmain Technologies, but what I think we ought to do is

19   just set a period of jurisdictional discovery, all right.

20   Let's just lock everything down because if there is no

21   jurisdiction, everything that you do and I do would be for

22   naught.   So it makes some sense to make sure we are iron clad

23   under Bristol-Myers Squibb and all the other cases; that we got

24   the right person at the right time.

25        Now, I do want to say we will do this, but I don't know
          Case
           Case3:18-cv-07004-JD
                3:18-cv-07004-JD Document
                                  Document81-1
                                           45 Filed
                                               Filed01/10/20
                                                     09/27/21 Page
                                                               Page33ofof88       3


1    what is going on with Bitmain Technologies, Limited in China

2    and here and everywhere else.        But if I get the sense that

3    anybody has played hide the ball with jurisdiction, there are

4    going to be consequences.       So -- and the consequences will be

5    significant.    So I'm going to give you an opportunity -- I

6    thought maybe 120 days.      Does that seem enough,

7    Mr. Marlborough?

8               MR. MARLBOROUGH:     Your Honor, it does.       We would also

9    request a Special Master to address discovery issues.

10              THE COURT:   Oh, no.     I do my own discovery.       You don't

11   get Special Master for discovery.         Those are rare and I use

12   them only in the most extreme circumstances.           I do my own

13   discovery.

14        I'm assuming you have read the discovery letter.              Just

15   send me a three-page letter and do not oppose the letter until

16   I ask.   Don't do it until I ask.        And if I ask for an

17   opposition, you will have plenty of time to do it and I will

18   hear it.

19        There will be no Special Master for discovery.             But to

20   finish my thought, if it turns out that someone is playing

21   games with discovery, consequences -- I mean, company names and

22   locations and everything else, consequences are going to be

23   swift and short.     Okay.

24              MR. LAZATIN:    Understood, Your Honor.        If I may be

25   heard on just the jurisdictional discovery point, if I may make
          Case
           Case3:18-cv-07004-JD
                3:18-cv-07004-JD Document
                                  Document81-1
                                           45 Filed
                                               Filed01/10/20
                                                     09/27/21 Page
                                                               Page44ofof88        4


1    one pitch to the Court.

2              THE COURT:    Yes.

3              MR. LAZATIN:     There are two main bases, main grounds,

4    that are being alleged.      One is the website -- web sales and

5    the other is these various alleged contacts into which I'm

6    guessing Your Honor is proposing jurisdictional discovery

7    cover.   The only pitch I would make is that each of those --

8    each of those alleged contacts -- the San Jose sales office,

9    the social media, the crypto mining forums, this trade show,

10   via Mr. Peng, so on -- that actually none of those -- even if

11   those were attributed -- and I'm not saying they can be

12   attributed to the Defendant, and they haven't argued that --

13   none of those actually matters for purposes of personal

14   jurisdiction because none of the Plaintiff's claims arise from

15   any of those.

16             THE COURT:    I'm not -- we are not doing that now.            We

17   are just doing jurisdiction.        And the discovery is going to be

18   wide open, but it is going to be just for jurisdiction.              You

19   can take any discovery you want, but it has got to be on the

20   point of whether there is specific personal jurisdiction in

21   this district, okay.      There are no limits.       I do not want to

22   hear from the Defendant:       We decline to answer X, Y and Z

23   because we think they are irrelevant.          Don't do that.      I'm

24   telling you now.

25             MR. LAZATIN:     Yes, sir.
             Case
              Case3:18-cv-07004-JD
                   3:18-cv-07004-JD Document
                                     Document81-1
                                              45 Filed
                                                  Filed01/10/20
                                                        09/27/21 Page
                                                                  Page55ofof88        5


1                THE COURT:     I have some doubts already about the

2    Defendants' position on this thing.            I think someone is doing a

3    tap dance on the name of the company.             I may be wrong.      I would

4    be happy to see it.        We are going to get to the bottom of it,

5    and we are going to get to the bottom of it in the next 120

6    days.     So is 120 days enough?

7                MR. MARLBOROUGH:       Well --

8                THE COURT:     I usually give 90 --

9                MR. MARLBOROUGH:       The concern is we are dealing with

10   Chinese corporations, and there might be some additional

11   delays.

12               THE COURT:     Let's start with 120.        If you need more --

13   but you have to tell me why you need more.              For example, let's

14   say the 120 clock starts functionally the first week of

15   January, don't start serving things in March and tell me you

16   need more time.       You have to get on it right away.

17               MR. MARLBOROUGH:       Yes, Your Honor.      Thank you.

18               THE COURT:     So you just keep it to jurisdiction

19   issues, though, no claims related.

20               MR. MARLBOROUGH:       All right.     It is open to

21   interrogatories, depositions and documents?

22               THE COURT:     Anything you want.       You want to take

23   depositions, anything -- you do not need to go through the

24   Hauge Convention.        Under Rule 4, you just hand things to

25   Mr. Lazatin and they are served.            Okay.
          Case
           Case3:18-cv-07004-JD
                3:18-cv-07004-JD Document
                                  Document81-1
                                           45 Filed
                                               Filed01/10/20
                                                     09/27/21 Page
                                                               Page66ofof88   6


1             MR. MARLBOROUGH:       Right.    Your Honor, Beijing Bitmain

2    is a wholly-owned subsidiary of the --

3             THE COURT:     I'm sorry?

4             MR. MARLBOROUGH:       Beijing Bitmain, which is the new

5    entity that was first raised on the Reply brief.

6             THE COURT:     Yes.

7             MR. MARLBOROUGH:       We started off with three entities.

8    When we showed all the sales and service contacts relating to

9    California, they added a fourth entity on the Reply brief,

10   right.

11        And as you will notice in the declarations, Defendants

12   admitted that the -- that customers made purchases from

13   Bitmain's website.     And then only on Reply now changed the

14   story to say that this website is not Bitmain's -- the

15   Defendant in this case, Bitmain's Technologies, Limited -- but

16   is another entity, Bitmain Technologies Co., Limited.

17        And with respect to that, you know, there might be some

18   documents that we would need from this -- that they would

19   allege come from Bitmain Technologies Co., Limited, who is not

20   a Defendant in this case, who was never discussed --

21            THE COURT:     You can take third-party discovery.

22            MR. MARLBOROUGH:       We can take third-party discovery in

23   that as well.    Thank you.

24            THE COURT:     That is all part of -- for example, I had

25   a case recently -- and I hope you read my Zithromia decisions.
          Case
           Case3:18-cv-07004-JD
                3:18-cv-07004-JD Document
                                  Document81-1
                                           45 Filed
                                               Filed01/10/20
                                                     09/27/21 Page
                                                               Page77ofof88       7


1    Two companies were having a dispute, and Apple was a third

2    party; and it is perfectly fine to take discovery of Apple in

3    that case because that was going to determine whether or not

4    there was specific jurisdiction in this district.

5             MR. MARLBOROUGH:       Thank you.     Can I get the name of

6    the case again?

7             THE COURT:     Zithromia, Z-I-T-H-R-O-M-I-A.          And I won't

8    bore you with the Westlaw cites.         If you look up Zithromia and

9    if you have a problem, put my name on it; and I will guarantee

10   you will just get these two.

11        All right, 120 days is going to be the presumptive period

12   unless there is a showing of good cause.          Do whatever you want

13   on jurisdiction.     Send me the letters.       I will handle all

14   discovery, as I do in all my other cases.

15            MR. MARLBOROUGH:       Thank you, Your Honor.

16            THE COURT:     Anything else I can do for you today?

17            MR. LAZATIN:      Not from us.

18            THE COURT:     Thank you.

19            MR. MARLBOROUGH:       That's it.     Thank you, Your Honor.

20                 (Proceedings adjourned at 11:45 a.m.)

21

22

23

24

25
             Case
              Case3:18-cv-07004-JD
                   3:18-cv-07004-JD Document
                                     Document81-1
                                              45 Filed
                                                  Filed01/10/20
                                                        09/27/21 Page
                                                                  Page88ofof88


1

2                              CERTIFICATE OF REPORTER

3                I certify that the foregoing is a correct transcript

4    from the record of proceedings in the above-entitled matter.

5

6    DATE:      Tuesday, January, 7,2019

7

8

9

10                  _________________________________________

11                             Marla F. Knox, RPR, CRR
                                  U.S. Court Reporter
12

13

14

15

16

17

18

19

20

21

22

23

24

25
